
211 Wis.2d 169 (1997)
565 N.W.2d 118
Jane DERUYTER, Jason DeRuyter and Travis DeRuyter, by Donald J. Jacquart, their Guardian Ad Litem and the Estate of Glenn R. DeRuyter, by Eric E. Eberhardt, Special Administrator of the Estate of Glenn R. DeRuyter, Plaintiffs-Respondents-Co-Petitioner,[]
v.
WISCONSIN ELECTRIC POWER COMPANY, Defendant-Appellant,
GREAT WEST CASUALTY COMPANY, INC., Defendant-Respondent-Petitioner,
AMERICAN STANDARD INSURANCE COMPANY and Michael T. Schmaling, Defendants-Respondents,
EMPLOYERS INSURANCE OF WAUSAU, a Mutual Company, Defendant.
GREAT WEST CASUALTY COMPANY, INC., JJ Transport, Inc., Power Transport, Inc., and Cedarland Trucking, Inc., Plaintiffs-Respondents-Co-Petitioners,
v.
WISCONSIN ELECTRIC POWER COMPANY, Defendant-Appellant,
AMERICAN STANDARD INSURANCE COMPANY OF WISCONSIN and Michael T. Schmaling, Defendants-Respondents.
No. 94-1991.
Supreme Court of Wisconsin.
Decided June 20, 1997.
Oral argument March 5, 1997.
For the defendant/plaintiff-respondent-petitioner/co-petitioner, Great West Casualty Company, Inc., there were briefs by Douglas J. Carroll, and O'Neill, Schimmel, Quirk &amp; Carroll, S.C., Milwaukee.
For the plaintiffs-respondents-co-petitioners there were briefs by David P. Lowe, Donald J. Jacquart and Jacquart &amp; Lowe, S.C., Milwaukee and Michael P. Crooks and Peterson, Johnson &amp; Murray, S.C., Madison and oral argument by David P. Lowe and Michael P. Crooks.
*171 For the defendant-appellant there was a brief by Jeffrey Morris and Quarles &amp; Brady, Milwaukee and oral argument by Jeffrey Morris.
Amicus curiae brief was filed by Michael H. Gillick and Murphy, Gillick, Wicht &amp; Prachthauser, Milwaukee for the Wisconsin Academy of Trial Lawyers.
Amicus curiae brief was filed by Patrick K. Stevens, Werner E. Scherr, Jeffrey S. Meyer, Michael A. Greene, Jerome D. Okarma and Edwina A. Wilson for Manufacturers &amp; Commerce, Milwaukee Transport Services, Inc., Harnischfeger Industries, Inc., Johnson Controls, Inc., Wisconsin Bell, Inc., and General Electric Medical Systems.
[1]
¶ 1. PER CURIAM.
This court is equally divided on whether to affirm or reverse the decision of the court of appeals. Justice Donald W. Steinmetz, Justice Jon P. Wilcox, and Justice Ann Walsh Bradley would affirm; Chief Justice Shirley S. Abrahamson, Justice William A. Bablitch, and Justice Janine P. Geske would reverse. Justice N. Patrick Crooks did not participate.
¶ 2. Accordingly, the decision of the court of appeals is affirmed.
NOTES
[]  Motion for reconsideration denied September 11, 1997.

